4033.46


                         IN THE TINITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF'MISSOURI

STACY ARNOLD,                                         )
                                                      )
                                Plaintiff,            )
                                                      )       Case No. 19-CV-06137-BP
v                                                     )
                                                      )
CITY OF ST. JOSEPH, ET AL.,                           )
                                                      )
                                Defendants.           )

                                      NOTICE OF SERVICE

          Defendant St. Joseph Public Library states to the Court that on January 15,2020 it served

its disclosures required by Rule 26(a)(l) upon plaintiff via U.S. mail, postage prepaid, and upon

counsel for co-defendants via electronic mail.


                                        Respectfully submitted,

                                        McANANY, VAN CLEAVE & PHILLPS, P.A.
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                                        By: /s/ Greeory P. Goheen
                                               Gregory P. Goheen            #s8119

                                        Attorneys for Defendant St. Joseph Public Library




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                                CERTIFICATE OF SERVICE

        I hereby certifu that on the 15th day of January, 2020,I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which provided electronic notice to:

Mark Beam-Ward
Beam-Ward, Kruse, Wilson & Fletes, LLC
8645 College Boulevard, Suite 250
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Attorneys for Defendants City of St. Joseph and Rebecca Hailey


and sent a copy via U.S. mail, postage prepaid to:

Stacy Arnold
500 Westover Drive #11589
Sanford, NC 27330
Plaintiff, pro se




                                                     /s/ Gresorv P. Goheen




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